Case From:
     1:15-cv-00934-TSE-JFA
           Kumar Nagdev    Document 1-3 Filed 07/20/15 Page 1 of 1 PageID# 14
     Date: Mon, Aug 5,2013 at 12:22 PM
     Subject: RE: Resume
     To: V Kaxiuki <vt;ronicamkflriuK:i<&>gmfti}.L>f>m^




     Hi Veronica,



    Thanks for the email, But however weare looking for Male Candidate as this Is an
    Field Job.




    Thanks & Regards,



    Kumar Nagdev

     Technical Recruiter

     eTeam Inc - 'ACCELERATED HIRES"

     Efficiency,Synergy, Expertise

     732r2^blSllfiX52S(T)

     908-757-0800 m

    ; knagdev@ete3minc.com




     From: V KarlukI fmailto:verontcamkariukl@omaH.eom1
     Sent: Monday, August 05, 2013 12:18 PM
     To: Kumar Nagdev
     Suiijed:: Resume



     Sorry. Resume is attached now.

     VKARIUKI




                                                                                       EXHIBIT

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